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Prepared By:
PHIL M. O'LINK
AMER ICA'S MORTGAGE OUTSOURCE PROGRAM
2710 5TH AVENUE SOUTH
MINNEAPOLIS, MN 55408




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   E'\ . Retumto:                            MORTGAGE
 RESOURCE REALESTAT( SERVICES, UC
        300 ~ed Brook Bivd.
               Suite 300
         Owings MIDS, MD 21117
             (i1.0) 66H550



WORDS USED ornN IN THIS DOCUMENT
Words used In multiple sections of this document are defined below. Other words are
defined In Sections 3, 5, 8, 10, 11, 13, 18, 20 and 21. Certain rules regarding the usage of
words used In this document are also provided In Section 16.

(A) "Security lnatrument'' means this document, which Is dated JULY 27, 2005
The term 'Security Instrument' Includes any Riders recorded with the Security Instrument.
(B) "Borrower" means
DAVID GRIMALDI AND SUSAN GRIMALDI, HUSBAND AND WIFE




who sometimes will be called "Borrower" and sometimes simply "I" or "me.• "Borrower" Is
granting a mortgage under this Security Instrument. "Borrower" is not necessarily the same
as lhe Person or Persons who signed the Note. The obllgatlons of Borrowers who did not
sign the Note are explalned further In Section is.
(C) "Lender" means AMERICA'S MORTGAGE OUTSOURCE PROGRAM

Lender is a Nallonal A11oclatlon                        which exists under the laws of
THE UNITED STATES OF AMERICA



MAINE • Slngle Family • Famle Mae/Freddie Mac UNIFORM INSTRUMENT
                                                                                    FORM 3020 1/01
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                                                                                                         EXHIBIT

                                                                                                         C,
Lender's address Is
405 SOUTH WEST 5TH STREET, DES MOINES, IA 55309
Except as provided In Sections 13 and 20, the term "Lender" may Include any Person who
takes ownership of the Note and this Security Instrument.
 (D) "Note " means the note signed by
 DAVID GRIMALDI
 SUSAN ORIMALDI




 and dated JULY 27, 2005                    . The Note shows that Its signer or signers owe Lender
 ONE HUNDRED SIXTY-EIGHT THOUSAND FIVE                                                       Dollars
(U.S.$ ......1.~~,~,CN ...........) plus interest and promise to pay this debt In Per1odlc Payments
and to pay the debt In full by SEPTEMBER 1, 2035                .
(E) "Property" means the property that Is described below In the section titled "Description
of the Property" or any portion of the Property.
(F) "Sume Secured" means the unpaid balance of amounts described below in the section
titled "Borrower's Transfer to Lender of Rights in the Property."
(G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges
and late charges due under the Note, and all sums due under this Security Instrument, plus
Interest.
(H) "Riders" means all Riders to this Security Instrument that are executed by Borrower.
The following Riders are to be executed by Borrower [check box as applicable]:

D   Adjustable Rate Rider    D     Condom inium Rider                  D       Second Home Rider
D   Balloon Rider            D     Planned Unit Development Rider      D       1-4 Family Rider
D   VA Rider                 D     Biweekly Payment Rider              D       Other(s) [specify]

(I) "Appllcable Law" means all controlling applicable federal, state and local statutes,
regulations, ordinances and administrative rules and orders (that have the effect of law) as
well as all applicable final, non-appealable judicial opinions.
(J) "Community A&SOClatlon Dues, Fees, and Assessments" means all dues, fees,
assessments, and other charges that are Imposed on Borrower or the Property by a
condominium association, homeowners association or similar organization.
(K) "Electronlc Fund• Transfer" means any transfer of funds, other than a transaction
originated by check, draft, or similar paper Instrument, which Is initiated through an
electronic terminal, telephonic Instrument, computer, or magnetic tape so as to order,
                       a
Instruct, or authorize financial Institution to debit or credit an account. Such term Includes,
but Is not limited to, point-of-sale transfers, automated teller machine transactions, transfers
initiated by telephone, wire transfers, and automated clearinghouse transfers.      ·
(L) "Eacrow Items" means those items that are described In Section 3.
(M) "Mlscellaneous Proceeds" means any monies or other thing of value paid by any third
party, other than insurance proceeds paid under the coverages described in Section 5, for:
(i) damage to, or destruction of, the Property; (ii) Condemnation or other taking of all or any
part of the Property (see Section 11 for an explanation of 'Condemnation"); (Iii) conveyance
In lieu of condemnation; or (Iv) misrepresentations of, or omissions as to, the value and/or
condition of the Property.

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    (N) "Mortgage Insurance" means Insurance protecting Lender against the nonpayment of,
    or default on, the Loan.
    (0) "Periodic Payment" means the regularly scheduled amount due for (I) principal and
    interest under the Note, plus (II) any amounts under Section 3 of the Security Instrument.
    (P) "Hl:SPA" means .the Heal Estate Settlement Procedures Act (12 U.S.C. Section 2601 et
    seq.) and its Implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be
    amended from time to time, or any additional or successor legislation or regulation that
    governs the same subject matter. When this Security Instrument refers to a requirement or
    restriction under "RESPA," Lender Intends to abide by that requirement or restriction, even
    If it Is not technically applicable to the Loan.
    (Q) "Successor in Interest of Borrower'' means any party that has taken title to the Property,
    whether or not that party has assumed Borrower's obllgations under the Note and/or this
    Security Instrument.
    (R) "Ground Rents" means amounts I owe if I rented the real property under the buildings
     covered by this Security Instrument. Such an arrangement usually takes the form of a
    long-term 'ground lease.'
    BORROWER'S TRANSFER TO LENDER OF RIGHTS IN TI-IE PROPERTY
,    I mortgage, grant and convey the Property to Lender, with mortgage covenants, subject to
I    the terms of this Security Instrument, to have and to hold all of the Property to Lender, and
    to its successors and assigns, forever. This means that, by signing this Security Instrument,
     I am giving Lender those rights that are stated In this Security Instrument and also those
     rights that Appllcable Law gives to Lenders who hold mortgages on real property. Those
     rights that Applicable Law gives to Lenders who hold mortgages on real property include
    those rlghts known as "Mortgage Covenants." I am giving Lender these rights to protect
     Lender from possible losses that might result If.
          (A) Some or all of the Loan Is not paid when due;
          (B) I fall to pay, with Interest, any amounts that Lender spends under Section 9 of
          this Security Instrument to protect the value of the Property and Lender's rights In the
           Property; or
          (C) I fail to keep any of my other promises and agreements under this Security
           Instrument.
    These amounts are the "Sums Secured."
    DESCRIPTION OF TI-IE PROPERTY
    I grant and mortgage to Lender the Property desclrbed In (A) through (G) below:
          (A) The Property which Is located at
    80 MIDDLE ROAD                                                                               [Street]
    FALMOUTI-1                                       [City] , Maine             04105         [Zip Code)
    ('Property Address"). This Property Is In:           CUMBERLAND                              County




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It has the following legal description :
LEGAL DESCRIPTION IS ATTACHED HERETO AS SCHEDULE "A" AND MADE A
PART HEREOF.




Parcel ID Number:
        (B) All buildings and other improvements that are located on the Property described
        in subsection (A) of this section;
        (C) All rights In other property that I have as owner of the Property described in
        subsection (A) of this section . These rights are known as "easements and
        appurtenances attached to the Property;'
        (D) All rights that I have In the land which lies in the streets or roads In front of, or
        next to, the Property described In subsection (A) of this section;
        (E) All fixtures that are now or In the future will be on the Property described In
        subsections (A) and (B) of ths section;
        (F} All of the rights and property described In subsections (B) through (E) of this
        section that I acquire in the future; and
        (G) All replacements of or additions to the Property described In subsections (B)
        through (F) of this section.

BORROWER'S RIGHT TO MORTGAGE THE PROPERTY AND BORROWER'S OBLIGATION TO
DEFEND OWNERSHIP OF THE PROPERTY
I promise that: (A) I lawfully own the Property; (B) I have the right to mortgage, grant and
convey the Property to Lender; and (C) there a·re no outstanding claims or charges against
the Property, except for those which are of public record.

I give general warranty of title to Lender. This means that I will be fully responsible br any
losses which Lender suffers because someone other than myself has some of the rights In
the Property which I promise that I have. I promise that I will defend my ownership of the
Property against any claims of such rights.

PLAIN LANGUAGE SECURITY INSTRUMENT
This Security Instrument contains promises and agreements that are used In real property
security Instruments all over the country. It also contains promises and agreements that
vary, to limited extent, In different parts of the country. My promises and other agreements
are stated in "plain language."




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        COVENANTS
        I promise and I agree with Lender as follows :

      1. Borrower's Promise to Pay. If I signed the Note, I will pay to Lender when due
principal and interest due under the Note and any prepayment charges and late charges
due under the Note. Regardless of whether I signed the Note, I will pay funds for Escrow
Items as described in Section 3. I will make all payments In U.S. currency. If any Borrower
makes any Loan payment to Lender with a check or other instrument that Is returned 1br
any reason {i&,, the check bounces), except when prohibited by Appllcable Law, the Lender
may require that any subsequent payment be made by: (a) cash; (b) money order; (c)
certified check, bank check, treasurer's check or cashier's check (all of which must be
drawn on an Institution whose deposits are insured by a federal agency, instrumentality, or
entity); or (d) Electronic Funds Transfer. Lender may reasonably specify which payment
form Is required.
       Payments are only considered received when they reach the Lender's address specified
 in the Note, or a different address specified by Lender under Section 15 of this Security
 Instrument. Lender may return any payments or partial payments If the payments are
 Insufficient to bring the Loan current. Lender may accept any payments or partial payments
 insufficient to bring the Loan current, but doing so will not affect Lender's rights under this
 Security Instrument, and Lender may still refuse such late, partial payments In the future.
      I agreo that no olalm or legal right I may havo against tho Lendor will oxouso my
 obligation to make timely payments under the Loan or to keep my other promises In this
 Security Instrument.
       2. Appllcatlon of Payments or Proceeds. Except as otherwise described In this Section
2, all payments accepted and applied by Lender shall be applied In the following order of
priority: (a) Interest due under the Note; {b) prhiclpal due under the Note; (c) amounts
payable under Section 3. Such payments will be applied to each Periodic Payment In the
order In which It became due. Any remaining amounts will be applied first to late charges,
second to any other amounts due under this Security Instrument, and then to reduce the
principal balance ofthe Note.
       If Lender receives a payment from me for a delinquent Periodic Payment which
Includes a sufficient amount to pay any late charge due, the payment may be applied to the
delinquent Periodic Payment and the late charge. If more than one Periodic Payment Is
outstanding, Lender may apply any payment received from me to the repayment of the
 Periodic Payment's ff, and to the extent that, each payment can be paid In full. To the extent
that any excess exists after the payment Is applied to the full payment of one or more
 Periodic Payments, such excess may be applied to any late charges due. Voluntary extra
payments must be applied first to any charges for making voluntary extra payments and
then as described In the Note.
       If voluntary extra payments I may make or the crediting of Insurance proceeds or
Miscellaneous Proceeds to the Note are enough to pay principal ahead of schedule, I must
still make my regularly sched·uled Periodic Payments under the Note, when scheduled,
without any delay or reduction of amount.




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        3. Monthly Payments for Taxes and Insurance.
       (a) Borrower's Obligations. I will pay to Lender all amounts necessary to pay for
 taxes, assessments, ground leasehold payments or rents (if any), hazard or property
 insurance covering the Property, flood insurance (if any), and any required Mortgage
-Insurance, or loss reserve as described in Section 10 in the place of Mortgage Insurance.
 Each Periodic Payment will include an amount to be applled toward the payment of the
 following items, which are called "Escrow Items:"
       (1) The taxes, assessments and other items which under the Applicable Law may be
       or become superior to this Security Instrument as a lien on the Property. Any claim,
       demand or charge that Is made against property because an obligetlon has not been
       fulfilled is known as a "lien;"
       (2) The leasehold payment or Ground Rents on the Property (if any);
       (3) The premium for insurance covering the Property required under Section 5;
       (4) Tlit1 prt1111lu111 ru, Murtyay11 lllijUlance (ir any);
       (5) The amount I may be required to pay Lender under Section 10 below instead of the
       payment of the premium for Mortgage Insurance (if any); and
       (6) If Lender requires, Community Association Dues, Fees, and Assessments.
       After signing of the Note, or at any time during its term, Lender may include these
 amounts as Escrow Items. The monthly payment that I will make for Escrow Items will be
 based on Lender's estimate of the annual amount required.
       I will pay all of these amounts to Lender unless Lender tells me, in writing, that I do not
 have to do so, or unless Applicable Law requires otherwise. I will make these payments on
 the same day that my Periodic Payments of principal and interest are due under the Note.
       l wlll promptly send Lender a copy of all notices of amounts to be paid under this
 Section. I must pay Lender for Escrow Items as part of my regular Periodic Payments,
 unless Lender exc::uses this requirement in writing. If Lenl.ler eiu;U6e6 me in writing, I will
 pny nil Esorow ltoms ooverod by tho excuso, direotly and on limo. I wlll provido receipts
 proving my direct payments of Escrow Items on . request and In the time period Lender
 requires. If Lender excuses me from paying Escrow Items to Lender and If I fail to pay any
 amount due for an Escrow Item directly, Lender may pay such amount under Section 9, and
 I will be obligated to repay Lender, plus interest at the Note rate. Lender may revoke the
 excuse regarding any or all Escrow Items at any time by a notice given in accordance with
 Section 15 and, upon such revocation, I will pay to Lender all Funds (defined below). and in
 such amounts, that are then required under this Section 3.
       The amounts that I pay to Lender for Escrow Items under this Section 3 will be called
 the "Funds.• The Funds are pledged as additional security for all Sums Secured.
        Lender may, at any time, collect and hold Funds in an amount (1) sufficient to permit
 Lender to apply the Funds at the time specified under RESPA, but (2) not to exceed the
 maximum amount a lender can require under RESPA. Lender will estimate the amount of
 Funds due on the basis of current data and reasonable estimates of expenditures of future
 Escrow Items or otherwise In accordance with Applicable Law.
       (b) Lender's Obligation. Lender will keep the Funds in a savings or banking institution
 which has Its deposits insured by a federal agency, Instrumentality, or entity, or In any
 Federal Home Loan Bank. If Lender is such a savings or banking institution, Lender may
 hold the Funds. Lender will use the Funds to pay the Escrow Items. Lender will give to me,
 without charge, an annual accounting of the Funds. That accounting must show all
 additions to and deductions from the Funds and the reason for each deduction in the
 manner required by RESPA.

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       Lender may not charge me for holding or keeping the Funds, or for using the Funds to
 pay Escrow Items, or for making a yearly analysis of my payment of Funds or for.receiving,
 verifying and totaling assessments and bills. Maine law requires payment of, and Lender
 agrees to pay me, interest on the Funds in the manner an·d amount set brth in Maine law.
      (c) Ad)uatnumts to the Funds. If there is a surplus of Funds held in escrow, as defined
under RESPA, Lender will report to me regarding the excess funds in accordance with
RESPA. If there is a shortage or deficiency of Funds held ln escrow, as defined under
RESPA, Lender will notify me as required by RESPA and I will pay to Lender the amount
necessary to make up the shortage or deficiency as required by RESPA, but In no more than
12 monthly payments.
       When I have paid all of the Sums Secured, Lender will promptly refund to me any
Funds that are then being held by Lender.
      4. Borrower's Obllgatlon to Pay Charges, Aneaaments and Clalms. I will pay all taxes,
assessme11ls, aru.l 1:111y ulher ch11ryes 1:1111.I Onus lh1:1l 1111:1y be impused un the Properly 1:1nd
that may be or become superior to this Security Instrument. If I am a tenant under a ground
lease on the Property, I will also pay Ground Rents or payments due under my ground
lease. I will also pay any Community Association Dues, Fees, and Assessments. I will do
t~is either by making the payments to Lender that are described in Section 3 above or, if I
am not required to make payments to Lender under Section 3, by making the payments on
time to the Person owed them. In this Security Instrument, the word "Person' means any
natural person, orgainization, governmental authority or other party.
       I will promptly pay or satisfy all liens against the Property that may be or become
superior to this Securily Instrument. However, this Security Instrument does not require me
to satisfy a superior lien it (a) I agree, in writing, to pay the obligation which gave rise to
the superior lien and Lender approves the way in which I agree to pay that obligation (but I
must fully perform my agreeement or this exception does not apply); (b) in good faith, I
argue or defend against the superior lien In a lawsuit so that, during the lawsuit, the
superior lien may not be enforced (but this exception ends when the lawsuit ends); or (c) I
secure from the holder of that other lien an agreement, approved in writing by Lender, that
the lien of this Security Instrument is superior to the lien held by that Person. If Lender
determines that any part of the Property is subject to a superior lien, Lender may give me a
notice Identifying the superior lien. I will pay or satisfy the superior lien or take one or
more of the actions set forth above within 10 days of the giving of notice.
      5. Borrower's Obligation to Maintain Hazard Insurance or Property Insurance; Use of
Insurance Proceeds. I will obtain hazard or property insurance to cover all buildings and
other Improvements that now are or in the future will be located on the Property. The
insurance must cover loss or damage caused by: (a) fire: (b) hazards normally covered by
'extended coverage" hazard insurance policies; and (c) other hazards for which Lender
requires coverage, including floods and earthquakes. The insurance must be in the
amounts (Including deductibles) and br the periods of time required by Lender. Lender's
requirements can change during the term of the Loan. I may choose the Insurance
company, but my choice is subject to Lender's ljpproval. Lender may not refuse to approve
my choice unless the refusal is reasonable. If I do not maintain any of the insurance
coverages described above, Lender may obtain Insurance coverage at its option and charge
me in accordance with Section 9 below.




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      Lender Is under no obligation to purchase any particular type or amount of coverage.
Lender's coverage will protect Lender, but might or might not protect me, my equity In the
Property, or the contents of the Property, against any risk; hazard, or llability and ll)ight
provide greater or lesser coverage than was previously In effect. I acknowledge that the
cost of the Lender's Insurance coverage might significantly exceed the cost of Insurance
that I could have obtained. Any amounts paid by Lender under this Section 5 will become
my additional debt secured by this Security Instrument. These amounts will bear interest at
the Note rate from the date of disbursement and will be payable, with Interest, upon notice
from Lender to me requesting payment.
      Lender may require me to pay, in connection with this Loan, either: (a) a one-time
charge for flood zone determination, certification and track.ing services; or (b) a one-time
charge for flood zone determination and certification services and subsequent charges each
time remapplngs or similar changes occur which reasonably might affect such determination
or certification. I wlll also be responsible for the payment of any fees Imposed by the
Federal Emergency Management Agency in connection with the review of any flood zone
determination resulting from my objection.
      All of the insurance policies required by Lender and renewals of those policies: (a) are
subject to Lender's right to disapprove; (b) must Include what Is known as a "standard
mortgage clause" to protect Lender; and (c) must name Lender as mortgagee and/or as an
additional loss payee. The form of all policies and renewal certttlcates must be acceptable
to Lender. Lender will have the right to hold the policies and renewal certificates. If Lender
requires, I wlll promptly give Lender all receipts for paid premiums and renewal notices that
I receive.
      _If I obtain additional Insurance for damage to or destruction of the Property not
required by Lender, I will ensure that It contains a standard mortgage clause and names
Lender as mortgagee and/or as an additional loss payee.                  ·
      If there is a loss or damage to the Property, I will promptly notify the Insurance
company and Lender. If I do not promptly prove to the Insurance company that the loss or
damage occurred, then Lender may do so.
      The amount paid by any insuran.ce company with regard to the Property Is called
"Proceeds.• The Proceeds will be used to repair or to restore the damaged Property
whether or not the underlying Insurance was required by Lender unless: (a) It Is not
economically feasible to make the repairs or restoration; (b) the use of the Proceeds for that
purpose would lessen the protection given to Lender by this Security Instrument; or (c)
Lender and I have agreed In writing not to use the Proceeds for that purpose. If the repair
or restoration is not economically feasible or if it would lessen Lender's protection under
this Security Instrument, then the Proceeds will be used to pay the Sums Secured. If any of
the Proceeds remain after the amount that I owe to Lender has been paid in full, the
remaining Proceeds will be paid to me. Such Insurance proceeds will be applled In the
order provided for In Section 2.
      During the repair and restoration period, Lender will have the right to hold Insurance
proceeds until Lender has had an opportunity to Inspect the Property to ensure the work
has been completed to Lender's satisfaction. Lender will arrange the Inspection promptly.
 Lender may disburse Proceeds for the repairs and restoration In a sing le payment or In a
series of progress payments as the work Is completed. Unless an agreement is made In
writing or Applicable Law requires interest to be paid on such Insurance proceeds, Lender
will not be required to pay me any interest or earnings on Proceeds. Fees for public
adjusters, or other third parties I retain, will not be paid out of the Insurance proceeds and
wlll be my sole obligation.

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       If I abondon th e Property, or' If I do not a11swer, within 30 days a notice from Lender
stating th at the insura nce company has offered to settle a clal m, Lender may negotiate and
settle any Insurance claim. The 30-day period will begin when the notice Is given.
       If I abo"don the Property, do not answer the notice, or if Lender acquires the Property
under Section 22 below or otherwise, all of my rights in all Insurance polices covering th~
Property wlll belong to Lender, other than the right to any refund of unearned premiums I
have paid. Lender may use the Insurance proceeds either to repair or restore the Property
or to pay the Sums Secured, whether or not then due. However, Lender's rights in those
Proceeds will not be greater than the Sums Secured.
       6. Occupancy. I will occupy the Property and use the Property es my principal
residence within 60 days a1ter I sign this Security Instrument. I wlll continue to occupy the
Property and to use the Property as my principal residence for at least one year. The
one-year period will begin when I first occupy the Property. However, I wlll not have to
occupy the Property and ui.e the Property as my principal rei.idence within the time frames
set forth above If Lender agrees in writing that I do not have to do so. Lender may not
refuse to agree unless the refusal Is reasonable. I also will not have to occupy the Property
and use the Property as my principal residence within the time frames set forth above if
extenuating circumstances exist which are beyond my control.
        7. Borrower'• Obligation to Maintain and Protect the Property; lnapectlona. I WIii keep
the Property In good repair. I will not destroy, damage or harm the Property, and I WIii not
allow the Property to deteriorate or diminish In value due to its condition whether or not I
am residing In the Property. In addition, I will promptly repair the Property, If damaged, to
avoid further deterioration or damage unless It Is determined pursuant to Section 5 that
repair or restoration Is not economlcally feas!ble . If Insurance or condemnation proceeds
are paid In connection with damage to, or the taking of, the Property, I will be responsible
for repairing or restoring the Property only If Lender has released Proceeds for such
purposes. Lender may disburse Proceeds for the repairs and restoration In a single
payment or In a series of progress payments as the work ls completed. If the Insurance or
condemnation proceeds are not sufficient to repair or restore the Property, I wlll not be
relieved of my obligation to complete such repair or restoration.
       Lender or its agents may enter and Inspect the Property at reasonable times. If it hai.
reasonable cause, Lender may inspect the interior of the Improvements on the Property.
Lender wlll gfve me notice prior to an interior Inspection specifying such reasonable cause.
        8. Borrower'• Loan Application. If, during the application process for the Loan, I made
fali.e, misleading, incomplete, or inaccurate statements to Lender about Information
important to Lender in determining my eligibility for the Loan ("Material Information'.),
Lender will treat my actions as a default under this Security Instrument. I will also be In
default If I knew about or consented to any other Person giving false, misleading,
Incomplete, or Inaccurate statements about Material Information to Lender. False,
misleading, incomplete, or Inaccurate statements about Material lnbrmation would include
a misrepresentation of my intention to occupy the Property as a principal residence. This Is
just one example of a false, misleading, Incomplete, or inaccurate statement of Material
Information. Also, If during the loan application process I failed to provide Lender with
Material Information, Lender wlll treat this as a default under this Security Instrument. I will
also be in default if I knew about or consented to any other Person falling to provide Lender
with Material Information.




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       9. Lander'• Right to Protect lt1 Rights in the Property. If: (a) I do not keep my promises
 and agreements made in this Security Instrument; (b) someone, including me, begins a legal
 proceeding that may significantly affect Lender's Interest in the Property or rights under this
 Security Instrument (such as a legal proceeding In bankruptcy, In probate, for Condemnation
or Forfeiture, for enforcement of a lien which may become superior to this Security
 Instrument or to enforce laws or regulations); or (c) I abandon the Property, then Lender
 may do and pay for whatever Is necessary to protect the value of the Property and Lender's
 rights in the Property. Lender's actions to protect its Interest In the Property and/or rights
 under this Security Instrument, including Its secured position In a bankruptcy proceeding,
 may Include appearing in court, paying reasonable attorneys' fees, paying superior liens on
 the Property, protecting and/or assessing the value of the Property, and securing and/or
 repairing the Property. Securing the Property includes, for example, entering the Property
to make repairs, change locks, replace or board up doors and windows, drain water from
 pipes, eliminate bulldlng or other code violatlons or dangArous r.ondltions, 1md have utilltlP.s
turned on or off. Although Lender may take action under this Section 9, Lender does not
 have to do so and Is not under any duty or obligation to do so. I agree that Lender incurs
 no liability for not taking any or all actions authorized under this Section 9.
       I will pay to Lender any amounts, with Interest, which Lender spends under thls Section
 9. I will pay those amounts to Lender when Lender sends me a notice requesting that I do
 so. I will also pay Interest on those amounts at the Note rate. Interest on each amount will
 begin on the date that the amount Is spent by Lender.
       If I do not own but am a tenant on the Property, I will fulfill all my obligations under my
 lease. I also agree that, if I subse.quently purchase or otherwise become the owner of the
 Property, my interest as the tenant and my Interest as the owner wlll remain separate
 unless Lender agrees In writing.
       10. Mortgage lnaurance. If Lender required Mortgage Insurance as a condition of
 making the Loan, I will pay the premiums for the Mortgage Insurance. If, for any reason, the
 Mortgage Insurance coverage required by Lender lapses or ceases to be available from the
 original mortgage Insurer, I wlll pay the premiums for substantially equivalent Mortga.ge
 Insurance coverage from an alternate mortgage Insurer selected by Lender.
       If substantially equivalent Mortgage Insurance coverage is not avallable and if I was
 required to make separately designated payments toward the premiums for Mortgage
_Insurance, Lender will establish, a loss reserve as a substitute for the Mortgage Insurance
 coverage. I will pay to Lender each month an amount equal to one-twelfth of the yearly
 Mortgage Insurance premium (as of the time the coverage lapsed or ceased to be In effect).
 Lender wlll retain these payments, and wlll use these payments to pay for losses that the
 Mortgage Insurance would have covered. Such loss reserve will not be refundable.
       Lender wlll no longer require loss reserve payments if Mortgage Insurance coverage
 again becomes available and Is obtained. In that case, I will once again make Mortgage
 Insurance premiums. The Mortgage Insurance coverage must be In the amount and for the
 period of time required by Lender. Lender must approve the Insurance company providing
the coverage.
       I wlll pay the Mortgage Insurance premiums, or the non-refundable loss reserve
 payments, until the requirement for Mortgage Insurance ends according to any written
 agreement between Lender and me providing for such termination or until termination of
 Mortgage Insurance Is required by Appllcable Law. Lender may require me to pay the
 premiums, or the loss reserve payments, in the manner described In this Section 10.



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      This Section 10, and the existence or termination of my obligation to pay Mortgage
Insurance premiums or reserve payments, does not affect my obllgatlon to pay interest
under the Note at the rate set by the Note.
      A Mortgage Insurance pollcy pays Lender (or any entity that purchases the Note) hr
certain losses it may Incur if Borrower does not repay the Loan as agreed. Borrower is not
a party to the Mortgage Insurance policy.
      Mortgage Insurers assess their total risk on all Mortgage Insurance from time to time.
Mortgage Insurers may enter into agreements with other parties to share or change their
risk, or to reduce losses. These agreements are based on terms and conditions that are
satisfactory to the mortgage Insurer and the other party (or parties) to these agreements.
These agreements may require the mortgage insurer to make payments using any source of
funds that the mortgage insurer may have available (which may Include Mortgage Insurance
premiums).
      As a result of these agreements, Lender, any owner of the Note, another insurer, any
relnsurer, or any other entity may receive (directly or indirectly) amounts that come from a
portion of Borrower's payments for Mortgage Insurance, In exchange for sharing or
changing the mortgage insurer's risk, or reducing losses. If these agreements provide that
an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the
premiums paid to the insurer, the arrangement Is often termed "captive reinsurance.• It
also should be understood that: {a) any of these agreements wlll not affect the amounts
        •
that orrower has agreed to pay for Mortgage Insurance, or any other terms of the Loan.
These agreements will not increase the amount Borrower wlll owe for Mortgage Insurance,
and they will not entitle Borrower to any refund; end (b) any of these agreements wlll not
affect the rights Borrower has - If any - regarding the Mortgage Insurance under the
Homeowners Protection Act of 1998 or any other law. These rights may Include the right (a)
to receive certalii disoloi;urei;, (b) to requei;t and obtain cancellation of the Mo1tgage
Insurance, (c) to have the Mortgage Insurance terminated automatically, and/or (d) to
receive a refund of any Mortgage Insurance premiums that were not earned at the time of
such cancellation or termination.
      11, Agreements about Miscellaneous Proceeds and Condemnation of 1he Property.
I assign to Lender all Miscellaneous Proceeds (as defined above In subsection (M) of the
section entitled "Words Used Often In This Document"). All Miscellaneous Proceeds will be
paid to Lender. Mlscellaneous Proceeds include, among other things, awards or claims br
damages for Condemnation. A taking of property by any governmental authority by eminent
domain Is known es "Condemnation."
      If the Property is damaged, all Miscellaneous Proceeds wlll be applied to restoration
or repair of the Property, if the restoration or repair is economically feasible and Lender's
security is not lessened. During the repair and restoration period, Lender wlil have the right
to hold Miscellaneous Proceeds until Lender has had en opportunity to Inspect the Property
to ensure the work has been completed to Lender's satisfaction. Lender will arrange the
Inspection promptly. Lender may pay for the repairs and restoration in a single
disbursement or In a series of progress payments as the work Is completed. Unless an
agreement Is made In writing or Appllcable Law requires Interest to be paid on the
Mlscellaneous Proceeds, Lender will not be required to pay me any interest or earnings on
such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or
Lender's security would be lessened, the Miscellaneous Proceeds will be applied to the




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Sums Secured by this Security Instrument, whether or not then due, with the excess, if any,
paid to me .. Such Miscellaneous Proceeds will be applled In the order provided for in
Section 2.
       If all of the Property Is taken or destroyed, the Miscellaneous Proceeds will be used to
reduce the Sums Secured, whether or not then due. If any of the Miscellaneous Proceeds
remain after the Loan has been paid in full, the remaining proceeds will be paid to me.
       Unless Lender and I agree otherwise In writing, if only a part of the Property Is taken
or destroyed, and the fair market value of the Property Immediately before the partial taking
or destruction either is equal to, or greater than, the amount of the Sums Secured
Immediately before the partial taking or destruction, then a portion of the Miscellaneous
Proceeds will be applled to pay a portion of the Loan. That portion will equal the
Miscellaneous Proceeds mutliplied by a fraction. That fraction Is as follows: (a} the total
amount of the Sums Secured immediately before the partial taking or destruction; divided by
(I,} lhll f11ir 111ttrk11l v11lu11 uf lhe Pruµerly immetllalely befure Iha pttrtial laking or deslrucliun.
The remainder of the Miscellaneous Proceeds will be paid to me.
       Unless Lender and I agree otherwise In writing or unless Appllcable Law requires
otherwise, lf only a part of the Property Is taken or destroyed, and the fair market value of
the Property Immediately before the partial taking or destruction Is less than the amount of
the Sums Secured immediately before the partial taking or destruction, the proceeds will be
used to reduce the Sums Secured whether or not then due.
       If I abandon the Property, or If I do not answer within 30 days, a noticA from LAnder
stating that the Opposing Party (as defined below) offered to make an award to settle a
claim for damages, Lender has the authority to settle any claim and collect the proceeds.
"Opposing Party• means the thirt:I party that owes me Miscellaneous Proceeds or the party
against whom I have a legal action In regard to Miscellaneous Proceeds. Lender may then
use the Miscellaneous Proceeds to repair or restore the Property or to reduce the Sums
Secured. The 3~day period will begin when the notice Is given.
       I WIii be In default if any lawsuit or other legal proceeding is brought seeking Forfeiture
of the Property or seeking any other significant reduction of Lender's interest In the property
or rights under this Security Instrument. "Forfeiture" means a legal order or Judgment that
takes away some or all of my rights In the Property, whether In a civil or In a criminal
proceeding. I can cure that default by causing the lawsuit or legal proceeding to be
dismissed with a legal ruling that, In Lender's reasonable Judgment, precludes any
Forfeiture or any other significant reduction of Lender's Interest In the Property or rights
under this Security Instrument. If there Is any award or claim for damages for the reduction
of Lender's Interest or rights, the proceeds of that award or claim are assigned to and will
be paid to Lender.
       All Miscellane·ous Proceeds that are not applied to restoration or repair of the
Property will be applled ln the order provided for ln Section 2.
       12. Continuation of Borrower'• Obllgatlons and of Lender's Rights.
       (a) Borrower'• Obligations. Lender may allow me, any Borrower, and any Successor
 In Interest of Borrower to delay or to change the amount of the Periodic Payments of
 principal and Interest due under the Note or under this Security Instrument. Even If Lender
does this, however, that Person and I will both still be fully obligated under the Note and
 under this Security Instrument.




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      Lender may allow those delays or changes for a Successor In Interest of Borrower,
even If Lender ls requested not to do so. Lender will not be required to bring a lawsuit
against a Successor In Interest of Borrower for not fulfilllng obligations under the Note or
under this Security Instrument, even if Lender is requested to do so by Borrower or a
Successor In Interest of Borrower.
      (b) Lender's Rights. Even If Lender does not exercise or enforce any right of Lender
under this Security Instrument or under Applicable Law, Lender will still have all of those
rights and may exercise and enforce them In the future. Even it (1) Lender obtains
insurance, pays taxes, or pays other claims, charges or liens against the Property; (2)
Lender accepts payments from third Persons or Successors In Interest; or (3) Lender
accepts payments In amounts less than the amount then due, Lender will have the right
under Section 22 below to demand that I make Immediate payment in full of any amounts
remaining due and payable to Lender under the Note and under this Security Instrument.
     13. Obligatlons of Borrower and of Person, Taking over Borrower's Rights or
Obligation•. Except as provided in Section 18, any Successor In Interest of Borrower who
takes over my rights or obligatfons under this Security Instrument In writing and who is
approved by Lender will have all of my rights and will be obligated to keep all of my
promises and agreements made in this Security Instrument. I will not be released from my
liability under this Security Instrument unless Lender agrees to that release in writing. Any
Person who takes over Lender's rights or obligations under this Security Instrument wHI
have all of Lender's rights and wlll be obligated to keep all of Lender's agreements made in
this Security Instrument, except as provided in Section 20.
     If more than one Person signs this Security Instrument as Borrower, each of us is fully
obligated to keep all of Borrower's promises and obligations contained in this Security
Instrument. Lender may enforce Lender's rights under this Security Instrument against
each of us individually or against all of us together. This means that any one of us may be
requrled to pay ell of the Sums Secured. However, If one of us does not sign the Note: (a)
that Person Is signing this Security Instrument only to give that Person's rights in the
Property to Lender under the terms of this Security Instrument; (b) that Person is not
personally obllgeted to pay the Sums Secured; and (c) that Person agrees that Lender can
agree with the other Borrowers to delay enforcing any of Lender's rights or to modify or
make any accommodations with regard to the terms of this Security Instrument or the Note
without that Person's consent.
      14. Loan ChargH. Lender may charge Borrower fees for services performed In
connection with Borrower's default, for the purpose of protecting Lender's jnterest In the
Property and rights under this Security Instrument, including, but not limited to, attorneys'
fees, property Inspection, and valuation fees. In regard to any other fees, the fact that this
Security Instrument does not expressly authorize Lender to charge a specific fee to
Borrower should not be Interpreted to be a prohibition on the charging of such fee. Lender
may not charge fees that are expressly prohibited by this Security Instrument or by
Applicable Law.
     If the Loan Is subject to a law which sets maximum loan charges, and t_hat law Is finally
Interpreted so that the Interest or other loan charges collected or to be collected In
connection with the Loan exceed permitted llmlts: (a) any such loan charge will be reduced
by the amount necessary to reduce the charge to the permitted limit; and (b) any sums
already collected from me which exceeded permitted limits will be refunded to me. Lender
may choose to make this refund by reducing the princlpal owed under the Note or by
making a direct payment to me. If a refund reduces principal, the reduction will be treated


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     as a partial prepayment without any prepayment charge (whether or not a prepayment
     charge is provided for under the Note). My acceptance of any such refund made by direct
     payment to me will constitute a waiver of any right of action I might have arising out of such
     overcharge, uncless Applicable Law expressly provides otherwise.
            15. Notices Required under this Security Instrument. All notices given by me or Lender
     In connection with this Security Instrument must be in writing. Any notice that must be
     given to me under this Security Instrument will be given by delivering It or by malllng It by
     first class mail unless Applicable Law requires use of another method, The notice wlll be
     effective or 'given" when mailed (or, if not mailed, when actually delivered) to my address,
     unless Appllcable Law requires otherwise. Notice to any one Borrower will constitute notice
     to all Borrowers unless Appllcable Law expressly requires otherwise. The notice will be
     addressed to me at the address stated in the section above titled 'Description of the
     Property.• A notice will be given to me at a different address If I give Lender a notice of my
     different address. I will promptly notify Lender of my change of address. If Lender specifies
     a procedure for reporting my change of address, then I will only report a change of address
     through that specified procedure. There may be only one designated notice address under
     this Security Instrument at any one time.
           Any notice that must be given to Lender under this Security Instrument will be given by
      delivering or mailing It to Lender's address stated In subsection (C) of the section above
      entitled "Words Used Often In This Document." A notice will be mailed or delivered to
      Lender at a different address if Lender gives me a notice of the different address. A notice
      to Lender required by this Security Instrument Js not given until it is actually received by
'J    Lender. If any notice required by this Security Instrument Is also required under Applicable
      Law, the Applicable Law requirement will satisfy the corresponding requirement under this
      Security Instrument.
           16. Law That Goveme this Security Instrument; Interpretation. This Security Instrument
      Is govemed by federal law and the law that applies In the place where the Property Is
      located. If any term of this Security Instrument or of the Note conflicts with the Applicable
      Law, the conflict will not affect other provisions of this Security Instrument or the Note which
      can operate, or be given effect, without the conflicting provision. All rights and obllgatlons
      contained In this Security Instrument are subject to any requirements and llmltations o-f
      Appllcable Law. Applicable Law might explicitly or implicitly allow the parties to agree by
      contract or It might be silent, but such silence will not be construed as a prohibition against
      agreement by contract.
           As used in this Security Instrument: {a) words of the masculine gender will mean and
      Include corresponding neuter words or words of the feminine gender; (b) words in the
      singular will mean and Include the plural and vice versa; and (c) the word 'may• gives sole
      discretion without any obligation to take any action.
            17. Borrower's Copy. I will be given one copy of the Note and of this Security
      Instrument.
            18. Agreements about Lender's Right.a If the Property Is Sold or Transfe1Ted. As used ·
      In this Section 18, "Interest in the Property" means any interest In the Property recognized
      or protected by Applicable Law Including, for example, those Interests transferred In a bond
      for deed, contract for deed, Installment sales contract or escrow agreement, if the Intent ·1s
      the transfer of title by Borrower at a future date to a purchaser.




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      Lender may require Immediate payment In full of all Sums Secured by this Security
Instrument If all or any part of the Property, or if any interest In the Property, is sold or
transferred without Lender's prior written permission. if Borrower Is not a natural Person
and a beneficial Interest In Borrower Is sold or transferred without Lender's prior written
permlsslon, Lender also may requlre lmmedlate payment In full. However, Lender will not
require immediate payment In full if prohibited by Applicable Law.
      If Lender requires Immediate payment In full under this Section 18, Lender will give me
a notice which states this requirement, following the procedures in Section 15. The notice
will give me at least 30 days to make the required payment. The 30-day period will begin on
the date the notice Is malled or dellvered. If I do not make the required payment during
that period, Lender may act to enforce its rights under this Security Instrument without
giving me any further notice or demand for payment.
      19. Borrower's Right to Have Lender's Enforcement of this Security Instrument
Discontinued. Even If Lender has required Immediate payment in full, I may have the right
lo have enforcement of this Seourlty Instrument dlsoontlnued. I will have this right at any
time before the earliest of: (a) five (5) days before sale of the Property under any power of
sale granted by this Security Instrument; (b) such other period as Applicable Law might
specify for the termination of my right to reinstate; or (c) before a judgment has been
entered enforcing this Security Instrument, if I meet the following conditions:
      (1) I pay to Lender the full amount that then would be due under this Security
      Instrument and the Note as If Immediate payment In full had never been required;
      (2) I correct my failure to keep any of my other promises or agreements made in this
      Security Instrument;
      (3) I pay all of Lender's reasonable expenses in enforcing this Security Instrument
      including, for example, reasonable attorneys' fees, property inspection and valuation
      fees, and other fees incurred for the purpose of protecting Lender's interest in the
      Property and rights under this Security Instrument; and
      (4) I do whatever Lender reasonably requires to assure that Lender's Interest in the
      Property, Lender's rights under this Security Instrument, and my obligations under the
      Note and under this Security Instrument continue unchanged.
      Lender may require that I pay such reinstatement sums and expenses In one or more
of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified
check, bank check, treasurer's check or cashier's check, provided any such check Is drawn
upon an institution whose deposits are Insured by a federal agency, instrumentality or
entity; or (d) Electronic Funds Transfer.
      If I fulfill all of the conditions In this Section 19, then the Note and this Security
 Instrument will remain In full effect as if Immediate payment in full had never been required.
 However, I will not have the right to have Lender's enforcement of this Security Instrument
discontinued if Lender has required lmmedlate payment In full under Section 18 above.
      20. Holder's Right to Sall the Note or an Interest In the Note; Borrower's Right to
Notice of Change of Loan Servicer; Notice of Grlevancea. The Note, or an interest In the
Note, together with this Security Instrument, can be sold one or more times. I might not
receive any prior notice of these sales.
      The entity that collects my Periodic Payments due under the Note and this Security
Instrument and also performs other mortgage loan servicing obligations under the Note, this
 Securlty Instrument and Applicable Law Is called the "Loan Servicer." There can be a
change ofthe Loan Servicer as a result of the sale of the Note; there also can be one or



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more changes of the Loan Servicer unrelated to a sale of the Note. The law requires that I
be given written notice of any change of the Loan Servicer. The written notice must be
given in the manner required under RESPA. The notice will state the name and address of
the new Loan Servicer, and also tell me the address to which I should make my payments.
The notice also will contain any other Information required by RESPA In connection with a
notice of transfer of servicing. If the Note is sold, the Purchaser may hire a third party as
Loan Sevicer. In that case, the Loan Servicer, and not the Note Purchaser, will have
mortgage loan servicing obligations to Borrower, except when the Note or Applicable Law
expressly requires otherwise.
      Lender and I agree that we will not start a lawsuit or legal proceeding or join, or be
Joined to, an existing lawsuit (such as a class action) that arises from the other party's
actions pursuant to the Security Instrument or that clalms the other party broke any promise
or failed to fulfill any duty under this Security Instrument or relating to the Loan until: (a)
the complaining party gives written nntic:a in the mannar provided In Section 15 to the nthar
party; (b) the notice clearly describes the promise broken or the duty unfulfilled; and {c) the
party receiving the notice is given a reasonable time to correct the problem. This provision
does not apply if Applicable Law specifically authorizes a lawsuit by me against Lender
under the facts In question and does not permit any cure or correction by Lender. If
Appllcable Law provides a time period which must elapse before certain action can be
taken, that time period will be deemed to be reasonable for purposes of this paragraph.
The notice of default and opportunity to cure given to me pursuant to Section 22 and the
demand for Immediate payment in full given to Borrower pursuant to Section 18 will be
deemed to satisfy the notice and opportunity to take corrective action provisions of this
Section 20.
      21. Continuation or Borrower'• Obllgation1 to Maintain and Protect the Property. The
federal laws and the laws of the Jurisdiction where the Property is located that relate to
health, safety or environmental protection are called "Environmental Laws."
      Environmental Laws classify certain substances as toxic or hazardous. There are other
substances that are considered hazardous for purposes of this Section 21. These are
gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and
 herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive
 materials. The substances defined as toxic or hazardous or as pollutants or wastes by
Environmental Laws and the substances considered hazardous for purposes of this Section
21 are called "Hazardous Substances."
      An "Environmental Cleanup" includes any removal, remedial action or other response
as defined In an Environmental Law. An "Environmental Condition' means a condition that
can cause or contribute to or otherwise trigger an Environmental Cleanup.
      Except as provided below: {a) I will not permit Hazardous Substances to be present
on the Property; (b) I will not use or store Hazardous Substances on the Property; and (c) I
will not allow anyone else to do so. I also will not dispose of Hazardous Substances on the
 Property, or release any Hazardous Substance on the Property, and I will not allow anyone
else to do so. However, I may permit the presence on the Property of small quantities of
 Hazardous Substances that are iienerally recognized as appropriate for normal residential
 use and maintenance of the Property, and I may use or store these small quantities on the
 Property.




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      I will not do anything affecting the Property that violates Environ mental Laws, and I
will not allow anyone else to do so. I wlll not create an Environmental Condition affecting
the Property or pennit anyone else to do so or do anything which due to the presence, use,
or release of a Hazardous Substance, creates a condition that adversely affects the value of
the Property.
      If I know of: (a) any Investigation, clalm, demand, lawsuit or other action by the
government or by a private party Involving the Property and any Hazardous Substance or
Environmental Laws; (b) any Environmental Conditions, for example, any spill or leak of any
Hazardous Substance; or (c) any condition relating to a Hazardous Substance that reduces
the value of the Property, I will promptly notify the Lender In writing. If the government or a
private party notifies me (or I otherwise learn) that it ls necessary to remove a Hazardous
Substance affecting the Property or to take other remedial actions, I wlll promptly take all
necessary remedial actions as required by Environmental Laws.
      This Section does not require the Lender to condt,Jct or pay for any Environmental
Cleanup.

        NON-UNIFORM COVENANTS

        I also promise and agree with Lender as follows:

        22. Lender'• Rights If Borrower Falls to Keep Promises and Agreements. After the
occurrence of the condiUons s1a1Bd in subsections (a), (b) and (c) below, Lender may
require that I pay lmmedlately the entire amount then remaining unpaid under the Note and
under this Security Instrument If all of the conditions s1ated in subsections (a), (b) and (c)
of this Section 22 are met, Lender may do this without making any further demand for
payment. This requirement Is called "Immediate payment In full."
     Lender may also require Immediate payment In full If any of the events described In
Section 18 occur, even If the conditions s1ated In sub1&ctlons (a), (b) and (c) below are not
met
      If Lender requires lmmedlalB payment in full, Lender may bring a laweult to 1ake away
all of my remaining rights In the Property and have the Property sold. At this sale lender or
another Person may acquire the Property. This Is known as "foreclosure and sale." In any
lawsuit for foreclosure and sale, Lender wlll have the right to collect all costs allowed by
law. These costs Include reasonable attorneys' fees and costs of tltle evidence.
      Lender may also require Immediate payment in full under this Section 22 only if all of
the following conditions are met:
     (a) I fall to keep my promise or agreement made in this Security Instrument,
      including the promises to pay when due the Sums Secured;
     (b) lender eends to me, In the manner described In Section 15 above, a notice that
     s1ates:
          (1) The promise or agreement that I failed to keep;
          (2) The action that I must take to correct the default;
          (3) A date by which I must correct the default. That date must be at least 30 days
          from the date on which the notice Is given;




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             (4) That If I do not correct the default by the date stated In the notice, Lender
             may required immediate payment In full, and Lender or another Peraon may
             acquire the Property by means of foreclosure and sale;
             (5) That If I meet the conditions stated In Section 19 above, I wlll have the right
             to have Lender's enforcement of this Security Instrument discontinued and to
             have the Nots and this Security Instrument remain fully effective as If Immediate
             payment in full had never been required; and
             (6) That I have the right In any lawsuit for foreclosure and sale to argue that I
             did keep my promises and agreements under the Note and under this Security
             Instrument, and to present any other defenses that I may have; and
         (c) I do not correct the default stated In the notice from Lender by the date
         stated in that notice.

      23. Lender'• Obligation to Discharge this Security Instrument When Lender has been
paid all amounts due under the Note and under this Security Instrument, Lender will
discharge this Security Instrument by dellverlng to the appropriate Registry of Deeds a
discharge or release stating that this Security Instrument has been satisfied. I will not be
required to pay Lender for the discharge, but I will pay all costs of recording the discharge
in the proper official records (unless those costs were collected in advance of my Joan
closing).
      24. Payment Durlno Foreclosure. I agree that Lender may accept rents from the
Property, hazard insurance proceeds, condemnation awards, and any other monies
produced by the Property or paid by me, even though Lender has demanded immediate
payment in full and begun foreclosure and sale under Section 22 above. Lender may use
such monies to pay off any part of the sums Secured without affecting Lender's right to
continue foreclosure and sale.
     25. Riders to this Security Instrument. The promises and agreements of each Rider are
incorporated as a part of this Security Instrument.




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   BY SIGNING BELOW, I accept and agree to the promises and agreements contained In
this Seourlty Instrument and In any Alder signed by me and recorded with It.

Witnesses:




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                                                    &,/e.
                                                    ____~   z--.
                                                          ---____ (Seal)
                                                     DAVID GRIMALDI                   BorTOwr




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                                                                                County 11:


      On this 2n-H     day of JULY, 2005                    , personally appeared the
above named
DAVID GRIMALDI AND SUSAN GRIMALDI, HUSBAND AND WIFE




Non-Borrower: SUSAN GRIMALDI

and acknowledged the foregoing instrument to be his/her/their free act and deed.




                                                  Before me,



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SME20   Rev 11/15/00               Poge 20 0120                Initial~         >6--'   FORM 3020   1/01
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-                               EXHIBIT"A"
A CERTAIN LOT OR PARCEL OF LAND, WITH 11:IE BUILDINGS TIIEREON, SITUATED ON THE
WESTERLY SIDE OF THE MIDDLE ROAD IN THE TOWN OF FALMOUTH, COUNTY OF
CUMBERLAND AND STATE OF MAINE, BOUNDED AND DESCRIBED AS FOLLOWS:

BEGINNING AT A POINT ON THE WESTERLY SIDE OF SAID MIDDLE ROAD WHICH IS
DISTANT NORTIIEASTERL Y SIX HUNDRED TWENTY-ONE AND FIVE-TENTIIS (621.5) FEET,
MORE OR LESS, FROM THE NORTHEASTERLY SIDE LINE OF PLEASANT HILL ROAD, SAID
POINT ALSO BEING THE NORTHEASTERLY CORNER OF LAND NOW OR FORMERLY OF
ARCHER E. DOUGLAS; TIIENCE NORTHWESTERLY ALONG TIIE NORTIIEASTERL Y SIDE LINE
OF SAID DOUGLAS LAND ONE HUNDRED SEVENTY-FIVE (175) FEET TO THE CORNER
THEREOF; THENCE NORTH 58" 30' EAST EIGHTY (80) FEET TO THE SOUTHWESTERLY
CORNER OF LAND NOW OR FORMERLY OF JESSE HAMLIN; THENCE SOUTHEASTERLY
ALONG THE SOUTHWESTERLY WIDE LINE OF SAID HAMLIN LAND ONE HUNDRED
SEVENTY-FIVE (175) FEET TO SAID MIDDLE ROAD; THENCE SOUTHWESTERLY ALONG THE
WESTERLY SIDE OF SAID MIDDLE ROAD EIGHTY (80) FEET TO THE POINT OF BEGINNING.

THE IMPROVEMENTS THEREON BEING COMMONLY KNOWN AS 80 MIDDLE ROAD,
FALMOUTH, MAINE 04105.

BEING TIIE SAME LOT OR PARCEL OF GROUND WIIlCH BY DEED DATED AUGUST 3, 1999,
AND RECORDED AMONG THE LAND RECORDS OF CUMBERLAND COUNTY IN BOOK 15012
PAGE 151, WAS GRANTED AND CONVEYED BY VALERIE C. BRANDT, DIVORCED AND NOT
SINCE RBMARRIED, UNTO DAVID GRIMALDI.




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                                 R.ec11tded Reister of Deeds
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